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 7
 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10     ERIN ROBERTSON, individually                  Case No.
       and on behalf of all others similarly
11
       situated,
12
                                                     Class Action
13                         Plaintiff,
14           v.
                                                     JURY TRIAL DEMAND
15     CWPVA INC. d/b/a HOME
16     GENIUS EXTERIORS
17
                           Defendant.
18
19
           Plaintiff Erin Robertson by her undersigned counsel, for this class action
20
21
     complaint against Defendant CWPVA Inc. d/b/a Home Genius Exteriors (“Home

22   Genius Exteriors”) and their present, former and future direct and indirect parent
23
     companies, subsidiaries, affiliates, agents and related entities, allege as follows:
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25
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                                            COMPLAINT
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 1                                  I.     INTRODUCTION
 2
           1.     Nature of Action: “Telemarketing calls are intrusive. A great many
 3
 4   people object to these calls, which interfere with their lives, tie up their phone
 5
     lines, and cause confusion and disruption on phone records. Faced with growing
 6
 7
     public criticism of abusive telephone marketing practices, Congress enacted

 8   the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105 Stat.
 9
     2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a
10
11   response to Americans ‘outraged over the proliferation of intrusive, nuisance calls
12
     to their homes from telemarketers’ id. § 2(6), and sought to strike a balance
13
14
     between ‘[i]ndividuals’ privacy rights, public safety interests, and commercial

15   freedoms’ id. § 2(9).
16
           2.     “The law opted for a consumer-driven process that would allow
17
18   objecting individuals to prevent unwanted calls to their homes. The result of the
19
     telemarketing regulations was the national Do-Not-Call registry. See 47 C.F.R. §
20
21
     64.1200(c)(2). Within the federal government’s web of indecipherable acronyms

22   and byzantine programs, the Do-Not-Call registry stands out as a model of clarity.
23
     It means what it says. If a person wishes to no longer receive telephone
24
25   solicitations, he can add his number to the list. The TCPA then restricts the
26
     telephone solicitations that can be made to that number. See id.; 16 C.F.R. §
27
28
     310.4(b)(iii)(B) (‘It is an abusive telemarketing act or practice and a violation of
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 1   this Rule for a telemarketer to . . . initiat[e] any outbound telephone call to a person
 2   when . . . [t]hat person’s telephone number is on the “do-not-call” registry,
 3
     maintained by the Commission.’)…Private suits can seek either monetary or
 4
 5   injunctive relief. Id…This private cause of action is a straightforward provision
 6
     designed to achieve a straightforward result. Congress enacted the law to protect
 7
 8   against invasions of privacy that were harming people. The law empowers each
 9   person to protect his own personal rights. Violations of the law are clear, as is the
10
     remedy. Put simply, the TCPA affords relief to those persons who, despite efforts
11
12   to avoid it, have suffered an intrusion upon their domestic peace.” Krakauer v.
13
     Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).
14
15         3.     Plaintiff, individually and as class representative for all others
16   similarly situated, brings this action against Home Genius Exteriors.com Corp for
17
     violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”)
18
19   for making telemarketing calls to numbers on the National Do Not Call Registry,
20
     including their own.
21
22         4.     Because telemarketing campaigns generally place calls to thousands
23   or even millions of potential customers en masse, Plaintiff brings this action on
24
     behalf of a proposed nationwide class of other persons who received illegal
25
26   telemarketing calls from or on behalf of Defendant.
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 1                                       II.     PARTIES
 2         5. Plaintiff is an individual.
 3         6. Defendant CWPVA Inc. d/b/a Home Genius Exteriors is a corporation
 4   with its principal place of business located in this District.
 5                         III.    JURISDICTION AND VENUE
 6         7. Jurisdiction. This Court has federal-question subject matter jurisdiction
 7   over Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a
 8
     federal statute. 47 U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372
 9
     (2012).
10
           8. Personal Jurisdiction: This Court has personal jurisdiction over
11
     Defendant because they are located in this District.
12
           9. Venue: Venue is proper in this District pursuant to 28 U.S.C. §
13
     1391(b)(1)-(2) because a substantial part of the events giving rise to Plaintiff’s
14
     claims—namely, the illegal telemarketing at issue—occurred from this District.
15
                                         IV.      FACTS
16
      A.   The Enactment of the TCPA and its Regulations
17
18         10.    In 1991, Congress enacted the TCPA in response to a growing number
19
     of consumer complaints regarding certain telemarketing practices.
20
21         11.    § 227(c) of the TCPA requires the FCC to “initiate a rulemaking
22   proceeding concerning the need to protect residential telephone subscribers’
23
     privacy rights to avoid receiving telephone solicitations to which they object.” 47
24
25   U.S.C. § 227(c)(1).
26
27
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 1         12.    The National Do Not Call Registry allows consumers to register their
 2   telephone numbers and thereby indicate their desire not to receive telephone
 3
     solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).
 4
 5         13.    A listing on the Registry “must be honored indefinitely, or until the
 6
     registration is cancelled by the consumer or the telephone number is removed by
 7
 8   the database administrator.” Id.
 9         14.    The TCPA and implementing regulations prohibit the initiation of
10
     telephone solicitations to residential telephone subscribers to the Registry and
11
12   provides a private right of action against any entity that makes those calls, or “on
13
     whose behalf” such calls are made. 47 U.S.C. § 227(c)(5); 47 C.F.R.
14
15   § 64.1200(c)(2).
16
      B.   Defendant’s Unsolicited Telemarketing to Plaintiff
17
18         15.    Plaintiff is, and at all times mentioned herein was, a “person” as
19
     defined by 47 U.S.C. § 153(39).
20
21
           16.    Plaintiff’s telephone number, (XXX) XXX-4337, is a non-commercial

22   telephone number not associated with any business.
23
           17.    Plaintiff’s telephone number, (XXX) XXX-4337, is used for personal
24
25   residential purposes only.
26
           18.    Plaintiff’s telephone number has been listed on the National Do Not
27
28
     Call Registry since 2023.
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 1         19.    The number is a residential telephone line because it is assigned to a
 2   telephone exchange service for consumers and is not assigned to a telephone
 3
     exchange service for businesses.
 4
 5         20.    Plaintiff never consented to receive calls from Home Genius
 6
     Exteriors.
 7
 8         21.    Plaintiff never did business with Home Genius Exteriors.
 9         22.    Despite that, Ms. Robertson received at least one text and three
10
     telemarketing calls from the Defendant.
11
12         23.    The text was sent on April 1, 2024:
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 1          24.    The Plaintiff is not Igbinosa and has no affiliation with that individual.
 2          25.    Despite the Plaintiff’s request to no longer be called, she received
 3
     telemarketing calls from the Defendant on May 26 and 27, 2024.
 4
 5          26.    The calls were sent from Caller IDs (301) 200-1531 and (216) 290-
 6
     5857 and were also intended to contact her about home improvement projects.
 7
 8          27.    The Plaintiff was not interested in the offering.
 9          28.    The Plaintiff is alleging that Home Genius Exteriors directly made the
10
     calls at issue.
11
12          29.    Both Caller ID numbers connect to Home Genius Exteriors.
13
            30.    When a call is made to each number it is answered by Home Genius
14
15   Exteriors.
16          31.    Prior to this lawsuit, the Plaintiff’s counsel wrote to the Defendant
17
     regarding the telemarketing calls.
18
19          32.    The Defendant did not deny making telemarketing calls to the
20
     Plaintiff.
21
22          33.    The telemarketing alleged herein: (A) invaded Plaintiff’s privacy and
23   solitude; (B) wasted Plaintiff’s time; (C) annoyed Plaintiff; (D) tied up Plaintiff’s
24
     phone line; and (E) harassed Plaintiff.
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26
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 1                         V.   CLASS ACTION ALLEGATIONS
 2
            34.    Class Definition. Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3),
 3
 4   Plaintiff brings this case on behalf of the Class (the “Class”) defined as follows:
 5
                   National Do Not Call Registry Class: All persons in the United
 6                 States whose (1) residential telephone numbers were on the National
 7
                   Do Not Call Registry for at least 31 days, (2) but who received more
                   than one telemarketing call from or on behalf of Defendant, (3) within
 8                 a 12-month period, (4) at any time in the period that begins four years
 9                 before the date of filing this Complaint to trial.
10
11
            35.    Excluded from the Class are counsel, Defendant, any entities in

12   which Defendant has a controlling interest, Defendant’s agents and employees, any
13
     judge to whom this action is assigned, and any member of such judge’s staff and
14
15   immediate family.
16
            36.    The Class, as defined above, is identifiable through telephone records
17
18
     and telephone number databases.

19          37.    The potential members of the Class likely number at least in the
20
     hundreds because of the en masse nature of telemarketing calls.
21
22          38.    Individual joinder of these persons is impracticable.
23
            39.    Additionally, the disposition of the claims in a class action will
24
25
     provide substantial benefit to the parties and the Court in avoiding a multiplicity of

26   identical suits.
27
28
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 1         40.    Plaintiff is a member of the Class and will fairly and adequately
 2   represent and protect the interests of the Class as she has no interests that conflict
 3
     with any of the class members.
 4
 5         41.    Plaintiff and all members of the Class have been harmed by the acts of
 6
     Defendant, including, but not limited to, the invasion of their privacy, annoyance,
 7
 8   waste of time, and the intrusion on their telephone that occupied it from receiving
 9   legitimate communications.
10
           42.    This class action complaint seeks injunctive relief and money
11
12   damages.
13
           43.    There are numerous questions of law and fact common to Plaintiff and
14
15   members of the Class. These common questions of law and fact include, but are
16   not limited to, the following:
17
                  a.     whether Defendant systematically made multiple telephone
18
19   calls to members of the National Do Not Call Registry Class;
20
                  b.     whether Defendant made calls to Plaintiff and members of the
21
22   National Do Not Call Registry Class without first obtaining prior express written
23   consent to make the calls; and
24
                  c.     whether members of the Class are entitled to treble damages
25
26   based on the willfulness of Defendant’s conduct.
27
           44.    Plaintiff’s claims are typical of the claims of the Class.
28
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 1          45.    Plaintiff’s claims, like the claims of Class, arise out of the same
 2    common course of conduct by Defendant and are based on the same legal and
 3
      remedial theories.
 4
 5          46.    Plaintiff is an adequate representative of the Class because her
 6
      interests do not conflict with the interests of the Class, she will fairly and
 7
 8    adequately protect the interests of the Class, and she is represented by counsel
 9    skilled and experienced in class actions, including TCPA class actions.
10
            47.    Common questions of law and fact predominate over questions
11
12    affecting only individual class members, and a class action is the superior method
13
      for fair and efficient adjudication of the controversy. The only individual question
14
15    concerns identification of class members, which will be ascertainable from records
16    maintained by Defendant and/or its agents.
17
            48.    A class action is the superior method for the fair and efficient
18
19    adjudication of this controversy. Class-wide relief is essential to compel Defendant
20
      to comply with the TCPA. The interests of individual members of the Class in
21
22    individually controlling the prosecution of separate claims against Defendant are
23    small because the damages in an individual action for violation of the TCPA are
24
      small. Management of these claims is likely to present significantly more
25
26    difficulties than are presented in many class claims. Class treatment is superior to
27
      multiple individual suits or piecemeal litigation because it conserves judicial
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 1    resources, promotes consistency and efficiency of adjudication, provides a forum
 2    for small claimants, and deters illegal activities. There will be no significant
 3
      difficulty in the management of this case as a class action.
 4
 5          49.    Defendant has acted on grounds generally applicable to the Class,
 6
      thereby making final injunctive relief and corresponding declaratory relief with
 7
 8    respect to the Class appropriate on a class-wide basis. Moreover, on information
 9    and belief, Plaintiff alleges that the telephone solicitation calls made by Defendant
10
      and/or its affiliates, agents, and/or other persons or entities acting on Defendant’s
11
12    behalf that are complained of herein are substantially likely to continue in the
13
      future if an injunction is not entered.
14
15
                               FIRST CAUSE OF ACTION
16                         Telephone Consumer Protection Act
17
                Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
            (On Behalf of Plaintiff and the National Do Not Call Registry Class)
18
19          50.    Plaintiff repeats the prior allegations of this Complaint and
20    incorporates them by reference herein.
21
            51.    The foregoing acts and omissions of Defendant constitute numerous
22
23    and multiple violations of the TCPA, 47 U.S.C. § 227, by making telemarketing
24
      calls, except for emergency purposes, to Plaintiff and members of the National Do
25
26    Not Call Registry Class despite their numbers being on the National Do Not Call
27    Registry.
28
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 1          52.    Defendant’s violations were negligent, willful, or knowing.
 2          53.    As a result of Defendant’s violations of the TCPA, 47 U.S.C. § 227,
 3
      Plaintiff and members of the National Do Not Call Registry Class are
 4
 5    presumptively entitled to an award of between $500 and $1,500 in damages for
 6
      each call made.
 7
 8          54.    Plaintiff and the members of the National Do Not Call Registry Class
 9    are also entitled to and do seek injunctive relief prohibiting Defendant and/or its
10
      affiliates, agents, and/or other persons or entities acting on Defendant’s behalf
11
12    from making telemarketing calls to telephone numbers registered on the National
13
      Do Not Call Registry, except for emergency purposes, in the future.
14
15                                 PRAYER FOR RELIEF
16
            WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for
17
18    the following relief:
19
            A.     Certification of the proposed Class;
20
21          B.     Appointment of Plaintiff as representative of the Class;
22          C.     Appointment of the undersigned counsel as counsel for the Class;
23
            D.     A declaration that Defendant and/or its affiliates, agents, and/or other
24
25    related entities’ actions complained of herein violated the TCPA;
26
27
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 1          E.     An order enjoining Defendant and/or its affiliates, agents, and/or other
 2    persons or entities acting on Defendant’s behalf from making telemarketing calls to
 3
      numbers on the National Do Not Call Registry, absent an emergency circumstance;
 4
 5          F.     An award to Plaintiff and the Class of damages, as allowed by law;
 6
      and
 7
 8          G.     Orders granting such other and further relief as the Court deems
 9    necessary, just, and proper.
10
                             VI.           DEMAND FOR JURY
11
12          Plaintiff demands a trial by jury for all issues so triable.
13
14          Dated: August 7, 2024      PLAINTIFF, individually and on behalf of all
15
                                       others similarly situated,

16
                                       By: /s/ Rachel E. Kaufman
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